Case 2:17-cv-12455-SJM-DRG ECF No. 40, PageID.205 Filed 08/04/20 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

Natalya Mazurkevich,
                                            Case No.: 2:17-cv-12455-MOB-DRG
                 Plaintiff,
                                            Honorable Marianne O. Battani
      vs.
                                            Magistrate Judge David R. Grand
Equity Experts.Org, LLC.

                 Defendant.



             NOTICE OF SETTLEMENT WITH DEFENDANT
                  EQUITY EXPERTS. ORG, LLC

      Plaintiff and Defendant, Equity Experts.Org, LLC., have agreed to settle this

lawsuit and intend to file a Stipulation of Dismissal as to Equity Experts.Org, LLC.,

with prejudice, no later than September 31, 2020.


                                             Respectfully submitted,

                                             By: /s/ Gary D. Nitzkin
                                             GARY D. NITZKIN P41155
                                             CARL SCHWARTZ P70335
                                             MARK LAHTI P36656
                                             Attorneys for Plaintiff
                                             22142 West Nine Mile Road
                                             Southfield, MI 48033
                                             (248) 353-2882
                                             Email – gary@crlam.com

August 4, 2020
Case 2:17-cv-12455-SJM-DRG ECF No. 40, PageID.206 Filed 08/04/20 Page 2 of 2




                             PROOF OF SERVICE

       I, Gary D. Nitzkin, hereby state that on August 4, 2020 I served a copy of
the foregoing pleading upon all counsel of record via the ECF System.


                                            /s/ Gary D. Nitzkin
